













Opinion issued May 26, 2005








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-05-00193-CV
____________

THE UNIVERSITY OF TEXAS MEDICAL BRANCH AT GALVESTON,
Appellant

V.

YOLANDA REYNA, INDIVIDUALLY AND AS REPRESENTATIVE OF
THE ESTATE OF FRANK REYNA, Appellee




On Appeal from the 122nd District Court
Galveston County, Texas
Trial Court Cause No. 04CV0134




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has filed an unopposed motion to dismiss its appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Nuchia, Higley, and Bland.


